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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
THE UNITED STATES of AMERICA, et al.,     )
ex rel. JULIE LONG,                       )
                                          )
              Plaintiffs,                 )                 Civil Action No.
                                          )                 16-12182-FDS
              v.                          )
                                          )
JANSSEN BIOTECH, INC.,                    )
                                          )
              Defendant.                  )
__________________________________________)


              MEMORANDUM AND ORDER CONCERNING IN CAMERA
               REVIEW OF DEFENDANT’S DOCUMENTS WITHHELD
                ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE

SAYLOR, C.J.

       This is a qui tam action alleging that a pharmaceutical company unlawfully provided free

services to physicians who prescribed its medications. Relator Julie Long sued defendant

Janssen Biotech, Inc., a company that manufactures and sells Remicade and Simponi ARIA, two

infusible medications used to treat various conditions. She contends that the services constituted

kickbacks in violation of the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b), which in turn

resulted in the payment of false claims in violation of the False Claims Act, 31 U.S.C. § 3729(a).

       In connection with the ongoing discovery process, relator moved for an in camera review

of approximately 300 documents that were withheld or redacted by defendant on the basis of

attorney-client privilege. Relator contends that defendant had not sufficiently demonstrated that

the documents at issue were privileged.

       The Court granted the motion and conducted an in camera review of the challenged
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documents. Although several of those documents are indeed privileged, others do not appear to

be. Accordingly, and for the following reasons, defendant will be directed to produce the

documents listed in Appendix A of this order. Entry of this order will, however, be stayed for 14

days to permit defendant an opportunity to seek a further stay pending interlocutory appellate

review.

   I.        Analysis

          The attorney-client privilege attaches to communications “(1) [w]here legal advice of any

kind is sought (2) from a professional legal adviser in his capacity as such, (3) the

communications relating to that purpose, (4) made in confidence (5) by the client, (6) are at his

instance permanently protected (7) from disclosure by himself or by the legal adviser, (8) except

the protection be waived.” Mississippi Pub. Employees’ Ret. Sys. v. Bos. Sci. Corp., 649 F.3d 5,

30 (1st Cir. 2011) (quoting Cavallaro v. United States, 284 F.3d 236, 245 (1st Cir. 2002)). The

privilege “protects ‘only those communications that are confidential and are made for the

purpose of seeking or receiving legal advice,’” although the request for legal advice need not be

explicit. Lluberes v. Uncommon Prods., LLC, 663 F.3d 6, 24 (1st Cir. 2011) (quoting In re

Keeper of the Records (Grand Jury Subpoena Addressed to XYZ Corp.), 348 F.3d 16, 22 (1st Cir.

2003)); Lynx Sys. Devs., Inc. v. Zebra Enter. Sols. Corp., 2018 WL 1532614, at *4 (D. Mass.

Mar. 28, 2018). The privilege applies when the client is a corporation and protects

communications between its employees and counsel. Upjohn Co. v. United States, 449 U.S. 383,

397 (1981).

          Here, several challenged documents reflect communications made between defendant’s

employees and counsel for the purpose of seeking legal advice, either explicitly or implicitly.

There is no question that those documents are privileged and thus not discoverable. However,




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the privilege does not appear to extend to two categories of documents that were initially

withheld or redacted.

       First, multiple communications at issue were directed to, or shared with, third parties. In

general, “disclosing attorney-client communications to a third party undermines the privilege”

because it “destroys the confidentiality upon which the privilege is premised.” Cavallaro, 284

F.3d at 246-47; Lluberes, 663 F.3d at 24. The inclusion of external consultants, marketing

agents, and advisors on emails—even those containing otherwise-privileged communications—

will normally amount to a waiver of the attorney-client privilege as to those documents.

       Defendant asserts that the challenged third-party communications are nonetheless

privileged under the “functional-equivalent doctrine.” (ECF No. 449 at 15). Relying principally

on an articulation of that doctrine by the Lynx court, defendant contends that “certain third-party

agents of corporate entities, such as consultants, can be considered the ‘functional equivalent’ of

corporate employees by virtue of their close connection to the corporate entity,” thereby

“allow[ing] communications between such agents and corporate counsel to fall within the scope

of [the privilege].” 2018 WL 1532614, at *2.

       In determining whether a third party is sufficiently connected to the corporation such that

the functional-equivalent doctrine applies, the Lynx court considered multiple factors, including

(1) whether the third party had a longstanding relationship with the corporate client; (2) whether

he or she interacted with the corporation’s employees on a daily basis; (3) whether he or she was

“intimately involved in the single objective for which the company was created”; (4) whether he

or she worked from the client’s office; (5) whether he or she was obligated to work exclusively

for the company; and (6) whether he or she acted as the company’s sole representative at public

events, such that “[t]here was no principled basis to distinguish [the consultant’s] role from that




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of an employee.” Id. at *2-4 (citing In re Bieter Co., 16 F.3d 929, 938 (8th Cir. 1994)). Here,

defendant asserts that its third-party marketing agents and consultants acted as functional

equivalents of its marketing and sales employees because they held the same types of roles and

worked toward the same set of objectives. (ECF No. 449 at 15).

       As the Lynx court noted, the First Circuit has not adopted the functional-equivalent

doctrine. 2018 WL 1532614, at *4. This Court will nevertheless assume that under certain

circumstances, third-party agents may essentially operate as employees, and that the disclosure to

them of otherwise-privileged communications will not waive the privilege. That may be

particularly plausible in the health-care, medical-device, and pharmaceutical industries, where

the activities of the company may be subject to complex legal requirements; external agents and

consultants may, in some circumstances, perform functions that are indistinguishable from those

of employees.

       However, the burden of showing that third-party communications are privileged “rests

with the party asserting the privilege.” See In re Keeper of the Records, 348 F.3d at 21.

Although defendant has asserted that its external advisors functioned as employees, it has

provided minimal evidence, at best, to establish that the assertion is in fact true. See Lynx, 2018

WL 1532614, at *4 (noting that the party asserting attorney-client privilege must “provide []

affirmative factual support for its contention”). Defendant has not, for example, submitted

affidavits attesting that its external advisors interacted with its employees on a daily basis; that

they were obligated to work exclusively for defendant; that they operated from defendant’s

offices; that they represented defendant in external contexts; or that they were essentially

indistinguishable from its employees. And defendant has not identified any specific individuals

who performed such roles.




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       In its opposition memorandum, defendant did provide brief excerpts from three employee

deposition transcripts. Those employees testified that they worked with unidentified “external

partners” who provided them with “strategic support and tactical support” and whose

responsibilities at times were an “extension” of those assigned to defendant’s employees. (ECF

No. 449 Ex. E, F, G). The excerpts certainly suggest that defendant’s employees worked closely

with some external advisors on various projects. But close collaboration is not enough to invoke

the functional-equivalent doctrine. It is incumbent on the party asserting the privilege to put

forth sufficient evidence to demonstrate that specific third-party individuals did in fact function

as employees at the relevant time, and defendant has not done so here. Accordingly, defendant

will be directed to produce those communications that were disclosed to third parties, as set forth

in Appendix A.

       The second category of documents that do not appear to be privileged are email

attachments. Attachments to email communications, standing alone, are not privileged unless

the attachments themselves contain confidential communications intended to seek legal advice

from counsel. Indeed, “attachments which do not, by their content, fall within the realm of the

privilege cannot be privileged by merely attaching them to a communication with the attorney.”

America’s Growth Cap., LLC v. PFIP, LLC, 2014 WL 1207128, at *3 (D. Mass. Mar. 24, 2014).

That means, for example, that “attachments containing business, not legal information, cannot be

privileged.” Id.

       To be clear, an email sent to counsel seeking confidential legal advice is privileged,

whether it contains an attached document or not. And it is true that the mere selection of a non-

privileged document for disclosure to an attorney could, in some circumstances, implicate the

privilege. But documents do not become privileged simply because they have been attached to




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an email sent to counsel. And absent special circumstances, the discoverability of an attached

document must be analyzed independently from that of the email communication.

         Here, multiple documents that have been withheld or redacted are attachments to email

communications with counsel. Some of those attachments are clearly privileged. For example,

some of the attachments are draft memoranda containing legal advice, or requests for legal

advice, that fall squarely within the scope of privileged communications.

         The remaining attachments, however, are not independently privileged—that is, they do

not themselves constitute an attorney-client communication. And as to those attachments,

defendant has not demonstrated that they are otherwise privileged based on the context of the

email communications to which they are attached. Nor has defendant established that the

privilege analysis changes simply because the attachments at issue were previously listed on its

privilege log. Accordingly, defendant will be directed to produce those email attachments that

are not independently privileged, as set forth in Appendix A.

   II.      Conclusion

         For the foregoing reasons, the Court finds that the documents listed in Appendix A of this

order are not privileged, and that they are therefore discoverable. The production of documents

compelled by this order will be stayed for 14 days (that is, until July 4, 2025) to permit defendant

an opportunity to seek a further stay pending interlocutory appellate review.

So Ordered.


                                                         /s/ F. Dennis Saylor IV
                                                         F. Dennis Saylor IV
Dated: June 20, 2025                                     Chief Judge, United States District Court




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                                       APPENDIX A

   I.     Third-Party Communications


Row     Privilege-Log Number       Starting Bates #        Ending Bates #
61                                 JANSSENBIO-021-00005555 JANSSENBIO-021-00005559
62                                 JANSSENBIO-021-00005562 JANSSENBIO-021-00005562
857     JANSSENBIO-PL_2-0000627
858     JANSSENBIO-PL_2-0000628
859     JANSSENBIO-PL_2-0000629
860     JANSSENBIO-PL_2-0000630
861     JANSSENBIO-PL_2-0000631
939                                JANSSENBIO-064-00010697 JANSSENBIO-064-00010698
1136    JANSSENBIO-PL_2-0000900
1137    JANSSENBIO-PL_2-0000901
1310    JANSSENBIO-PL_2-0001072
1311    JANSSENBIO-PL_2-0001073
1465                               JANSSENBIO-064-00000990 JANSSENBIO-064-00000993
1957    JANSSENBIO-PL_2-0001691
1961                               JANSSENBIO-064-00002539 JANSSENBIO-064-00002540
1986    JANSSENBIO-PL_2-0001718
1987    JANSSENBIO-PL_2-0001719
1988    JANSSENBIO-PL_2-0001720
2119    JANSSENBIO-PL_2-0001850
2120    JANSSENBIO-PL_2-0001851
2125    JANSSENBIO-PL_2-0001856
2895    JANSSENBIO-PL_2-0002609
3156    JANSSENBIO-PL_2-0002868
3605    JANSSENBIO-PL_2-0003306
4102    JANSSENBIO-PL_2-0003791
4284                               JANSSENBIO-017-00052328 JANSSENBIO-017-00052329
4322                               JANSSENBIO-063-00001583 JANSSENBIO-063-00001660




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II.     Email Attachments


 Row            Privilege-Log Number
 9              JANSSENBIO-PL_2-0000003
 10             JANSSENBIO-PL_2-0000004
 11             JANSSENBIO-PL_2-0000005
 12             JANSSENBIO-PL_2-0000006
 13             JANSSENBIO-PL_2-0000007
 14             JANSSENBIO-PL_2-0000008
 15             JANSSENBIO-PL_2-0000009
 16             JANSSENBIO-PL_2-0000010
 17             JANSSENBIO-PL_2-0000011
 18             JANSSENBIO-PL_2-0000012
 19             JANSSENBIO-PL_2-0000013
 20             JANSSENBIO-PL_2-0000014
 21             JANSSENBIO-PL_2-0000015
 22             JANSSENBIO-PL_2-0000016
 114            JANSSENBIO-PL_2-0000089
 115            JANSSENBIO-PL_2-0000090
 116            JANSSENBIO-PL_2-0000091
 117            JANSSENBIO-PL_2-0000092
 156            JANSSENBIO-PL_2-0000121
 157            JANSSENBIO-PL_2-0000122
 201            JANSSENBIO-PL_2-0000157
 202            JANSSENBIO-PL_2-0000158
 203            JANSSENBIO-PL_2-0000159
 204            JANSSENBIO-PL_2-0000160
 205            JANSSENBIO-PL_2-0000161
 206            JANSSENBIO-PL_2-0000162
 211            JANSSENBIO-PL_2-0000167
 372            JANSSENBIO-PL_2-0000313
 373            JANSSENBIO-PL_2-0000314
 374            JANSSENBIO-PL_2-0000315
 375            JANSSENBIO-PL_2-0000316
 376            JANSSENBIO-PL_2-0000317
 451            JANSSENBIO-PL_2-0000391
 452            JANSSENBIO-PL_2-0000392
 658            JANSSENBIO-PL_2-0000504
 761            JANSSENBIO-PL_2-0000570
 1523           JANSSENBIO-PL_2-0001267
 1524           JANSSENBIO-PL_2-0001268


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1525           JANSSENBIO-PL_2-0001269
1526           JANSSENBIO-PL_2-0001270
1527           JANSSENBIO-PL_2-0001271
1528           JANSSENBIO-PL_2-0001272
1529           JANSSENBIO-PL_2-0001273
1530           JANSSENBIO-PL_2-0001274
1531           JANSSENBIO-PL_2-0001275
1657           JANSSENBIO-PL_2-0001399
1658           JANSSENBIO-PL_2-0001400
1744           JANSSENBIO-PL_2-0001485
1745           JANSSENBIO-PL_2-0001486
1746           JANSSENBIO-PL_2-0001487
1747           JANSSENBIO-PL_2-0001488
1748           JANSSENBIO-PL_2-0001489
1781           JANSSENBIO-PL_2-0001521
1782           JANSSENBIO-PL_2-0001522
1783           JANSSENBIO-PL_2-0001523
1784           JANSSENBIO-PL_2-0001524
1785           JANSSENBIO-PL_2-0001525
1786           JANSSENBIO-PL_2-0001526
1788           JANSSENBIO-PL_2-0001528
1789           JANSSENBIO-PL_2-0001529
1791           JANSSENBIO-PL_2-0001531
1792           JANSSENBIO-PL_2-0001532
1793           JANSSENBIO-PL_2-0001533
2065           JANSSENBIO-PL_2-0001796
2066           JANSSENBIO-PL_2-0001797
2067           JANSSENBIO-PL_2-0001798
2068           JANSSENBIO-PL_2-0001799
2120           JANSSENBIO-PL_2-0001851
2183           JANSSENBIO-PL_2-0001913
2584           JANSSENBIO-PL_2-0002313
2585           JANSSENBIO-PL_2-0002314
2586           JANSSENBIO-PL_2-0002315
2587           JANSSENBIO-PL_2-0002316
2588           JANSSENBIO-PL_2-0002317
2589           JANSSENBIO-PL_2-0002318
2590           JANSSENBIO-PL_2-0002319
2591           JANSSENBIO-PL_2-0002320
2592           JANSSENBIO-PL_2-0002321




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2593       JANSSENBIO-PL_2-0002322
2594       JANSSENBIO-PL_2-0002323
2595       JANSSENBIO-PL_2-0002324
2962       JANSSENBIO-PL_2-0002676
3081       JANSSENBIO-PL_2-0002795
3083       JANSSENBIO-PL_2-0002797
3084       JANSSENBIO-PL_2-0002798
3086       JANSSENBIO-PL_2-0002800
3087       JANSSENBIO-PL_2-0002801
3664       JANSSENBIO-PL_2-0003354
3665       JANSSENBIO-PL_2-0003355
3754       JANSSENBIO-PL_2-0003443
3755       JANSSENBIO-PL_2-0003444
3756       JANSSENBIO-PL_2-0003445
3757       JANSSENBIO-PL_2-0003446
3758       JANSSENBIO-PL_2-0003447
3759       JANSSENBIO-PL_2-0003448
3776       JANSSENBIO-PL_2-0003465
3777       JANSSENBIO-PL_2-0003466
3778       JANSSENBIO-PL_2-0003467
3779       JANSSENBIO-PL_2-0003468
3952       JANSSENBIO-PL_2-0003641
4070       JANSSENBIO-PL_2-0003759
4071       JANSSENBIO-PL_2-0003760
4103       JANSSENBIO-PL_2-0003792
4104       JANSSENBIO-PL_2-0003793
4105       JANSSENBIO-PL_2-0003794
4106       JANSSENBIO-PL_2-0003795
4107       JANSSENBIO-PL_2-0003796
4108       JANSSENBIO-PL_2-0003797
4109       JANSSENBIO-PL_2-0003798
4110       JANSSENBIO-PL_2-0003799
4111       JANSSENBIO-PL_2-0003800
4112       JANSSENBIO-PL_2-0003801
4113       JANSSENBIO-PL_2-0003802
4114       JANSSENBIO-PL_2-0003803
4115       JANSSENBIO-PL_2-0003804
4116       JANSSENBIO-PL_2-0003805
4117       JANSSENBIO-PL_2-0003806
4118       JANSSENBIO-PL_2-0003807




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4119       JANSSENBIO-PL_2-0003808
4120       JANSSENBIO-PL_2-0003809
4121       JANSSENBIO-PL_2-0003810
4122       JANSSENBIO-PL_2-0003811
4123       JANSSENBIO-PL_2-0003812
4124       JANSSENBIO-PL_2-0003813
4125       JANSSENBIO-PL_2-0003814
4126       JANSSENBIO-PL_2-0003815
4127       JANSSENBIO-PL_2-0003816
4128       JANSSENBIO-PL_2-0003817
4129       JANSSENBIO-PL_2-0003818
4130       JANSSENBIO-PL_2-0003819
4131       JANSSENBIO-PL_2-0003820
4132       JANSSENBIO-PL_2-0003821
4335       JANSSENBIO-PL_2-0003957
4352       JANSSENBIO-PL_2-0003973




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